  Case 3:21-cv-02640-C            Document 1   Filed 10/25/21      Page 1 of 20      PageID 1



                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

ASLEY FERNANDES,
                                                     Case No.: 21-cv-2640
                   Plaintiff,
                                                     COMPLAINT
       -against-
                                                     DEMAND FOR JURY TRIAL
JMP GROUP LLC, JOSEPH A. JOLSON,
CRAIG R. JOHNSON, MARK L. LEHMANN,
KENNETH M. KARMIN, H. MARK
LUNENBURG, CARTER D. MACK,
JONATHAN M. ORSZAG, STACI
SLAUGHTER, and GLENN H. TONGUE,

                   Defendants.



       Plaintiff, Asley Fernandes (“Plaintiff”), by the undersigned attorneys, for this complaint

against Defendants, alleges upon personal knowledge with respect to Plaintiff, and upon

information and belief based upon, inter alia, the investigation of counsel, as to all other

allegations herein, as follows:

                                    NATURE OF THE ACTION

       1.      This is an action brought by Plaintiff against JMP Group LLC (“JMP” or the

“Company”) and the members of the Company’s board of directors (collectively referred to as the

“Board” or the “Individual Defendants” and, together with JMP, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”),

15 U.S.C. §§ 78n(a), 78t(a) respectively, and United States Securities and Exchange Commission

(“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9. Plaintiff’s claims arise in connection with the

proposed merger (the “Proposed Transaction”) of JMP by and among affiliates of Citizens

Financial Group, Inc. (“Citizens Financial Group”) and Jolt Acquisition LLC (“Merger Sub,” and



                                               1
  Case 3:21-cv-02640-C          Document 1      Filed 10/25/21       Page 2 of 20       PageID 2



collectively with Citizens Financial Group, “Citizens”).

       2.      On or about September 8, 2021, JMP and Citizens announced an agreement and

plan of merger, pursuant to which JMP would merge with and into affiliates of Citizens (the

“Merger Agreement”). Pursuant to the terms of the Merger Agreement, JMP’s shareholders would

be entitled to receive $7.50 per share in cash for each share of JMP common stock they owned

(the “Merger Consideration”).

       3.      On or about October 15, 2021, in order to convince JMP’s public common

stockholders to vote in favor of the merger, the Defendants authorized the filing of a materially

incomplete and misleading Schedule 14(a) Definitive Proxy Statement (the “Proxy”) with the

Securities and Exchange Commission (“SEC”).

       4.      In particular, the Proxy contains materially incomplete and misleading information

concerning the background of the Proposed Transaction and the valuation analyses performed by

JMP’s financial advisors, Keefe, Bruyette & Woods, Inc. (“KBW” or the “Financial Advisors”)

regarding the Proposed Transaction.

       5.      The Proposed Transaction is expected to close during the fourth quarter of 2021

and the special meeting of the Company’s shareholders to vote on the Proposed Transaction will

be scheduled in the coming weeks. Therefore, it is imperative that the material information that

has been omitted from the Proxy is disclosed prior to the special meeting, so Plaintiff can properly

exercise all corporate voting rights.

       6.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9.

Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to JMP’s public




                                                2
  Case 3:21-cv-02640-C         Document 1        Filed 10/25/21       Page 3 of 20      PageID 3



common shareholders sufficiently in advance of the upcoming shareholder vote or, in the event

the Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        7.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

        8.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over each Defendant by this Court permissible

under the traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec.

Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has

minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over

the defendant in any federal district court.” Id. at 1316.

        9.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as 28 U.S.C. § 1391, because Defendants are found or are inhabitants or transact

business in this District.

                                             PARTIES

        10.     Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of JMP common stock.




                                                 3
 Case 3:21-cv-02640-C        Document 1        Filed 10/25/21      Page 4 of 20      PageID 4



       11.    Defendant JMP is a Delaware corporation with its principal executive offices

located at 600 Montgomery Street, Suite 1100, San Francisco, California 94111. The Company’s

common stock trades on the New York Stock Exchange (“NYSE”) under the ticker symbol “JMP.”

       12.    JMP maintains an office in Texas at 83801 N. Capital of Texas Hwy., Suite E205,

Austin, TX 78746.

       13.    Defendant Joseph A. Jolson (“Jolson”) is, and has been at all relevant times, the

Company’s Chief Executive Officer, the beneficial owner of more than 30% of the Company’s

common stock, and the Chairman of the Board of Directors of the Company.

       14.    Defendant Craig R. Johnson (“Johnson”) is, and has been at all relevant times, the

Vice Chairman of the Board of Directors of the Company.

       15.    Defendant Mark L. Lehmann (“Lehmann”) is, and has been at all relevant times,

the President of the Company and a member of the Board of Directors of the Company.

       16.    Defendant Kenneth M. Karmin (“Karmin”) is, and has been at all relevant times, a

director of the Company.

       17.    Defendant H Mark Lunenburg (“Lunenburg”) is, and has been at all relevant times,

a director of the Company.

       18.    Defendant Carter D. Mack (“Mack”) is, and has been at all relevant times, a director

of the Company.

       19.    Defendant Jonathan M. Orszag (“Orszag”) is, and has been at all relevant times, a

director of the Company.

       20.    Defendant Staci Slaughter (“Slaughter”) is, and has been at all relevant times, a

director of the Company.

       21.    Defendant Glenn H. Tongue (“Tongue”) is, and has been at all relevant times, a




                                               4
  Case 3:21-cv-02640-C         Document 1       Filed 10/25/21       Page 5 of 20      PageID 5



director of the Company.

        22.     The Defendants identified in paragraphs 13 through 21 are collectively referred to

herein as the “Board” or the “Individual Defendants,” and together with the Company, the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        23.     JMP is a publicly traded Delaware corporation and diversified capital markets firm

that provides investment banking, sales and trading, and equity research services to corporate and

institutional clients as well as alternative asset management products and services to institutional

investors and high net-worth individuals. JMP also invests in corporate credit instruments through

collateralized loan obligations and direct investments, and serves as an investment advisor. JMP’s

common stock trades on the NYSE under the ticker symbol “JMP.”

        24.     Prior to the announcement of the Proposed Transaction, JMP had excellent growth

prospects. Indeed, on July 29, 2021, less than two months before the Proposed Transaction was

announced, JMP issued a press release entitled JMP Group Reports Second Quarter 2021

Financial Results announcing “the second-best quarter in our company’s history” and stating in

part:

        “JMP Group’s operating earnings of $0.29 per share for the June quarter mark the
        second-best quarter in our company’s history, driven by strong advisory revenues
        at JMP Securities, record results in our asset management business, and investment
        income that well exceeded our corporate costs,” said Joe Jolson, chairman and CEO
        of JMP Group. “On a trailing-four-quarters basis, our operating earnings were a
        record $1.00 per share, representing a 32.9% return on average equity.

        “During the quarter, we successfully monetized certain principal investments,
        enabling us to call $25.0 million of our fixed-rate debt and reducing our long-term
        borrowings to less than $50.0 million as of July.”




                                                5
  Case 3:21-cv-02640-C            Document 1      Filed 10/25/21      Page 6 of 20     PageID 6



        “For the six months ended in June, JMP Securities’ investment banking revenues
        were up 80% year over year,“ said Mark Lehmann, president of JMP Group and
        CEO of JMP Securities. “Through June of this year, we underwrote 19 IPOs,
        compared to 20 last year on the whole, and bookran nine transactions, versus nine
        throughout 2020.

        “In our advisory business, we reached the $50 million mark for total fee revenues
        over the latest 12 months and are thrilled that our investment in people continues
        to pay off. We built on our momentum in July and feel confident about the third
        quarter, given a strong backlog and active dialogs with an ever-growing number of
        corporate clients.”

        25.        Thus, the Proposed Transaction comes at a time when JMP’s future success was

not fully reflected by its share price. As a result, the Proposed Transaction will “compensate” the

Company’s stockholders with cash that fails to adequately compensate them for the intrinsic value

of their shares.

        26.        Despite JMP’s intrinsic value and growth prospects, the Individual Defendants are

agreeing to a merger that cashes out the Company’s stockholders and deprives them the ability to

partake in the Company’s growth. The Individual Defendants breached their fiduciary duties owed

to the Company’s stockholders by agreeing to the Proposed Transaction for the unfair Merger

Consideration and allowing the unfair and flawed sales process to unfold in the manner that it did,

which will cause Plaintiff and the Class to receive an inadequate Merger Consideration.

The Proposed Transaction

        27.        On September 8, 2021, JMP and Citizens issued a press release announcing the

Merger Agreement, stating in part:

         CITIZENS FINANCIAL GROUP, INC. TO ACQUIRE JMP GROUP LLC

                      Expands capital markets capabilities for commercial clients

          Deepens expertise in healthcare, technology, financial services and real estate
                                              sectors




                                                  6
Case 3:21-cv-02640-C       Document 1        Filed 10/25/21      Page 7 of 20      PageID 7



    September 8, 2021 06:30 AM Eastern Daylight Time

    PROVIDENCE, R.I. and SAN FRANCISCO—(BUSINESS WIRE)—Citizens
    Financial Group, Inc. (NYSE: CFG or “Citizens”) and JMP Group LLC (NYSE:
    JMP or “JMP”) announced today that they have entered into a definitive merger
    agreement under which Citizens will acquire JMP in an all-cash transaction.

    JMP is a highly regarded capital markets firm that provides investment banking
    services, including strategic advisory, equity research and sales and trading focused
    primarily on the healthcare, technology, financial services and real estate sectors.
    Upon the closing of the transaction, JMP, which was founded in 1999 and is
    headquartered in San Francisco, will operate as a wholly-owned subsidiary of
    Citizens.

    “The acquisition of JMP represents an attractive opportunity for us to continue to
    broaden both our capabilities and our customer base in our commercial banking
    segment,” said Bruce Van Saun, chairman and chief executive officer at Citizens.
    “The acquisition further strengthens Citizens’ growing corporate finance and
    strategic advisory capabilities, with a focus on high growth and compelling industry
    sectors.”

    “We are adding a wealth of talented bankers as well as an institutional equities
    franchise that aligns well with our sector-focused corporate banking philosophy,”
    added Donald McCree, vice chairman and head of commercial banking at Citizens.
    “The transaction brings us a strong platform based in San Francisco and New York,
    expanding both our range of services and our national presence.”

    “Citizens takes an approach to business and client service that mirrors our own,”
    said Joseph Jolson, founder and chairman of JMP. “We are energized by the
    opportunity to provide new strategic advisory and equities capabilities to Citizens’
    corporate client base while simultaneously offering JMP Securities’ clients a highly
    complementary set of products and services as part of a leading U.S. depository
    institution.”

    Under the terms of the merger agreement, JMP shareholders will receive $7.50 for
    each common share of JMP they own, or approximately $149 million in cash.

    The merger agreement has been unanimously approved by the boards of directors
    of each company, and the transaction is targeted to close in the fourth quarter of
    2021, subject to approval by the shareholders of JMP, receipt of required regulatory
    approvals, and satisfaction of other customary closing conditions. As of September
    1, 2021, executive management and members of JMP’s board of directors owned
    approximately 60% of its outstanding common shares.

    Sullivan & Cromwell, LLP served as legal advisor to Citizens in connection with
    the transaction. Keefe, Bruyette & Woods, A Stifel Company, and JMP Securities
    LLC served as financial advisors to JMP, and Mintz, Levin, Cohn, Ferris, Glovsky
    and Popeo, P.C. served as legal advisor.


                                             7
  Case 3:21-cv-02640-C         Document 1       Filed 10/25/21       Page 8 of 20      PageID 8




The Preclusive Deal Protection Devices

       28.     To the detriment of the Company’s shareholders, the Individual Defendants agreed,

in the Merger Agreement, to certain onerous and preclusive deal protection devices that operate

conjunctively to make the Proposed Transaction a fait accompli and all but ensure that the

Proposed Transaction is consummated and that no competing offers emerge for the Company.

       29.     The Merger Agreement is protected by “no-shop” provisions that prohibit, except

under extremely limited circumstances, the Individual Defendants from engaging in discussions

or negotiations relating to proposals regarding alternative acquisitions or business combinations.

       30.     These Merger Agreement also contains “information rights” provisions, which

require the Board to provide Citizens with written notice of any Acquisition Proposal and further

require the Board to provide prior written notice of its intention to terminate the Merger Agreement

in favor of any Superior Proposal and negotiate with Citizens following receipt of the notice, so

that Citizens has the opportunity to adjust the terms and conditions of the Merger Agreement so

that the Acquisition Proposal ceases to be a Superior Proposal.

       31.     In addition, the Merger Agreement provides that the Company will be required to

pay a termination fee of 4% of the aggregate merger consideration with respect to any termination

under the no-shop provision.

       32.     Ultimately, these preclusive deal protection devices restrained and continue to

restrain the Company's ability to solicit or engage in negotiations with any third party regarding a

proposal to acquire all or a significant interest in the Company. The aggregate effect of these

preclusive deal protection devices, viewed in light of the materially inadequate consideration

offered for the Company’s shares in the Proposed Transaction and the flawed and conflicted

negotiations process, supports an inference that the Board was not acting in good faith in approving


                                                8
  Case 3:21-cv-02640-C         Document 1       Filed 10/25/21      Page 9 of 20         PageID 9



the terms of the Merger Agreement.

       33.      Accordingly, Plaintiff seeks injunctive and other equitable relief to prevent the

irreparable injury that the Company’s shareholders will continue to suffer absent judicial

intervention.

The Proxy Omits Material Information

       34.      On or about October 15, 2021, in order to convince the Company’s public common

shareholders to vote in favor of the Proposed Transaction, the Defendants authorized the filing of

the materially incomplete and misleading Proxy with the SEC, in violation of Sections 14(a) and

20(a) of the Exchange Act.

       35.        Specifically, the Proxy omits two types of material information: (i) information

regarding the background of the Proposed Transaction; and (ii) financial information that renders

the Financial Advisors’ fairness analysis materially false, misleading, or incomplete.

       A.       The Proxy Omits Material Information Regarding the Background of the
                Proposed Transaction

       36.      The Proxy fails to provide material information regarding the background of the

merger that implicates the possibility that the Merger Consideration is inadequate.

       37.      The Proxy fails to disclose (i) whether the Board considered forming a Special

Transaction Committee prior to May 27, 2021, (ii) why the Board authorized members of JMP

management to steer negotiations for several months before forming the Special Transaction

Committee, including who from JMP conducted an “in-person management meeting and dinner”

with Company B on May 10, 2021, and (iii) whether the Special Transaction Committee

considered engaging its own independent financial advisor, rather than KBW, a financial advisor

that had not only previously been engaged by JMP management but also performed advisory

services in connection with the merger of JMP affiliate Harvest Capital Credit Corporation



                                                9
Case 3:21-cv-02640-C         Document 1        Filed 10/25/21      Page 10 of 20       PageID 10



(“HCC”), which was still in the process of closing on June 1, 2021 when KBW first “reported to

and became subject to the sole direction of the Special Transaction Committee as the Special

Transaction Committee’s financial advisor.”

       38.     The Proxy fails to disclose material information regarding the prior merger of JMP

affiliate Harvest Capital Credit Corporation (“HCC”), including (i) the amount of compensation

that the Financial Advisors received from HCC during the two-year period leading up to the

Proposed Transaction, (ii) the fact that Defendant Jolson was the Chief Executive Officer and

controlling shareholder of HCC, and began negotiating the sale of JMP almost immediately after

HCC executed its merger agreement, (iii) the extent to which JMP management and KBW also

discussed the HCC merger during the period leading up to the HCC merger shareholder vote on

June 7, 2021, and (iv) the extent to which JMP management and KBW discussed the possibility

of a JMP merger during the period leading up to the execution of the HCC merger agreement.

       39.     The Proxy fails to disclose (i) the fact that, on April 22, 2021, in the midst of the

negotiation of the Proposed Transaction, former JMP director David DiPietro chose not to run for

re-election on April 22, 2021, and (ii) the extent, if any, to which former director DiPietro had

expressed a belief that a Special Transaction Committee should be coordinating merger talks rather

than JMP management.

       B.      The Proxy Omits Material Financial Information that Renders the Company’s
               Financial Advisors’ Fairness Analysis Materially Misleading

       40.     The Proxy also omits material information that renders the Financial Advisors’

Fairness Analysis materially misleading.

       41.     The Proxy describes the Fairness Opinion and the various valuation analyses that

the Financial Advisors performed to render its opinion but fails to provide enough information

regarding the necessary data, support for conclusions, or the existence of, or basis for, the



                                                10
Case 3:21-cv-02640-C          Document 1       Filed 10/25/21       Page 11 of 20       PageID 11



underlying assumptions that underpin the fairness opinion. Specifically, the Proxy does not

disclose enough information regarding the financial projections, inputs, and assumptions for

various financial valuations. Without this information, stockholders cannot replicate the analyses,

confirm the valuations, evaluate the Financial Advisors’ opinion that the Merger Consideration is

fair, or accurately assess the reliability of the Fairness Opinion. The informative value of the

Fairness Opinion is not in its conclusions, but in the valuation analyses that support them. Thus,

the key inputs, which are intrinsically baked into those conclusions, must also be fairly disclosed.

       42.     With respect to the Management Projections, the Proxy fails to disclose certain line-

items, including (i) the Company’s projected Tax-rate during the period covered by the

Management Projections. By providing the limited summary in the Proxy and withholding the

omitted information, Defendants render the Management Projections in the Proxy materially

incomplete and provide a misleading valuation picture of the Company. With respect to financial

projections, directors are obligated to provide complete valuation metrics to shareholders,

particularly in cash-out transactions where non-GAAP metrics were used by the banker, since such

metrics are not uniformly defined and shareholders are therefore unable to assess the utility and

legitimacy of the actual metrics without seeing the underlying components.

       43.     With respect to KBW’s Selected Companies Analysis beginning on Page 25, the

Proxy fails to disclose: (i) the underlying metrics and individual multiples for each of the selected

companies, and (ii) the full rationale and basis for applying KBW’s selected reference multiples.

Indeed, it appears that at least some of the selected companies may be fundamentally different

from JMP, which has Revenue multiples at the low end of the range but Earnings multiples at the

high end of the range, which suggests that the selected companies’ higher revenue multiples may

simply be an artifact of selecting companies that are much smaller than JMP.




                                                 11
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21       Page 12 of 20       PageID 12



       44.     With respect to KBW’s Selected Transactions Analysis beginning on Page 26, the

Proxy fails to disclose: (i) whether each transaction involved cash consideration, stock

consideration, or a cash-stock mix, (ii) the underlying metrics and individual multiples for each of

the selected companies, and (iii) the full rationale and basis for applying KBW’s selected reference

multiples. Indeed, simply including much smaller or larger transactions can greatly affect the

multiples implied in a given transaction, and the analysis suggests that the Merger Consideration

of just $7.50 per share (or possibly $7.73 per share if the conditions for the special dividend

become satisfied) may markedly undervalue JMP:




       45.     With respect to KBW’s Discounted Cash Flow Analysis beginning on Page 27, the

Proxy fails to: (i) fully disclose the rationale and basis for selecting a discount rate range of 11.0%

to 15.0%, (ii) fully disclose the terminal values and rationale and basis for applying a range of

terminal Operating Income multiples of 6.9x to 9.3x (especially given that JMP’s current forward

multiple is 10.4x), and (iii) provide a sensitivity table that presents the derived enterprise values

across the full range of discount rates and exit multiples.

       46.     This information is material to the Company’s shareholders, and the omission of

this information renders the summary of the Discounted Cash Flow Analysis incomplete and

misleading. As one highly-respected law professor explained regarding these crucial inputs, in a

discounted cash flow analysis a banker takes management’s forecasts, and then makes several key

choices “each of which can significantly affect the final valuation.” Steven M. Davidoff, Fairness

Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the appropriate discount


                                                  12
Case 3:21-cv-02640-C         Document 1        Filed 10/25/21      Page 13 of 20       PageID 13



rate, and the terminal value…” Id. As Professor Davidoff explains:

       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value. For example, a change in the
       discount rate by one percent on a stream of cash flows in the billions of dollars can
       change the discounted cash flow value by tens if not hundreds of millions of
       dollars…. This issue arises not only with a discounted cash flow analysis, but with
       each of the other valuation techniques. This dazzling variability makes it difficult
       to rely, compare, or analyze the valuations underlying a fairness opinion unless
       full disclosure is made of the various inputs in the valuation process, the weight
       assigned for each, and the rationale underlying these choices. The substantial
       discretion and lack of guidelines and standards also makes the process vulnerable
       to manipulation to arrive at the “right” answer for fairness. This raises a further
       dilemma in light of the conflicted nature of the investment banks who often provide
       these opinions.

Id. at 1577-78 (emphasis added). Without the above-mentioned information, the Company’s

shareholders cannot: (i) evaluate for themselves the reliability of the Discounted Cash Flow

Analysis, (ii) make a meaningful determination of whether the implied equity value ranges

properly value the Company or were the result of an unreasonable judgment by the Financial

Advisors, or (iii) make an informed decision regarding whether to vote in favor of the Proposed

Transaction.

       47.     The Proxy states that an “investment banking affiliate of KBW currently maintains

a business relationship with an affiliate of CFG to jointly market certain services to real estate

investment trusts and pays such CFG affiliate a portion of the compensation received by such

KBW affiliate for its services to such real estate investment trusts” but (i) does not otherwise

describe the extent of this relationship or quantify the amount of these payments, and (ii) fails to

disclose when KBW actually disclosed this conflict of interest to the Board and/or to the Special

Transaction Committee before the Special Transaction Committee effectively adopted the Board’s

pre-existing retention of KBW as financial advisor.

       48.     Unlike poker where a player must conceal his unexposed cards, the object of a

proxy statement is to put all one’s cards on the table face-up. In this case only some of the cards


                                                13
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21       Page 14 of 20       PageID 14



were exposed—the others were concealed. If a Proxy discloses financial projections and valuation

information, such projections and valuations must be complete, accurate, and honest. The question

is not simply whether there is a duty to speak, but also whether there may be liability for not having

spoken enough.      With regard to future events, uncertain figures, and other so-called soft

information, a company may choose silence or speech elaborated by the factual basis as then

known—but it may not choose half-truths. See Campbell v. Transgenomic, et al., No. 18-2198

(8th Cir., March 1, 2019) (noting that “half-truths” are actionable misrepresentations under

securities laws and collecting cases). Accordingly, Defendants have disclosed some of the

information related to the projections, assumptions, and inputs relied upon by Defendants’

financial advisors, but have omitted crucial line items, reconciliations, and other information.

Thus, Defendants’ omission renders the projections and summaries disclosed in the Proxy

misleadingly incomplete.

          49.   In sum, the omission of the above-referenced information renders the Proxy

materially incomplete and misleading, in contravention of the Exchange Act. Absent disclosure

of the foregoing material information prior to the upcoming shareholder vote concerning the

Proposed Transaction, Plaintiff will be unable to make an informed decision regarding whether to

vote his shares in favor of the Proposed Transaction, and he is thus threatened with irreparable

harm, warranting the injunctive relief sought herein.

                                             COUNT I

(Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9)

          50.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          51.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use




                                                 14
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21       Page 15 of 20       PageID 15



of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

       52.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       53.     The omission of information from a proxy will violate Section 14(a) and Rule 14a-

9 if other SEC regulations specifically require disclosure of the omitted information.

       54.     Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical information

regarding the valuation analyses performed by the Company’s Financial Advisors in support of its

fairness opinion.

       55.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were




                                                  15
Case 3:21-cv-02640-C          Document 1      Filed 10/25/21       Page 16 of 20      PageID 16



misstated or omitted from the Proxy, but nonetheless failed to obtain and disclose such information

to the Company’s shareholders although they could have done so without extraordinary effort.

       56.     The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction; indeed, the Proxy states that the Company’s Financial Advisors reviewed

and discussed its financial analyses with the Board, and further states that the Board considered

the financial analyses provided by the Company’s Financial Advisors, as well as its fairness

opinion and the assumptions made and matters considered in connection therewith. Further, the

Individual Defendants were privy to and had knowledge of the projections for the Company and

the details surrounding the process leading up to the signing of the Merger Agreement. The

Individual Defendants knew or were negligent in not knowing that the material information

identified above has been omitted from the Proxy, rendering the sections of the Proxy identified

above to be materially incomplete and misleading. Indeed, the Individual Defendants were

required to, separately, review the Company’s Financial Advisors’ analyses in connection with

their receipt of the fairness opinions, question the Company’s Financial Advisors as to its

derivation of fairness, and be particularly attentive to the procedures followed in preparing the

Proxy and review it carefully before it was disseminated, to corroborate that there are no material

misstatements or omissions.

       57.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The




                                                16
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21         Page 17 of 20     PageID 17



Individual Defendants were negligent in choosing to omit material information from the Proxy or

failing to notice the material omissions in the Proxy upon reviewing it, which they were required

to do carefully as the Company’s directors. Indeed, the Individual Defendants were intricately

involved in the process leading up to the signing of the Merger Agreement and preparation and

review of the Company’s financial projections.

          58.   The Company is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

          59.   The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote if such misrepresentations and omissions are

not corrected prior to the Shareholder Vote. Plaintiff has no adequate remedy at law. Only through

the exercise of this Court’s equitable powers can Plaintiff be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

  (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          60.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          61.   The Individual Defendants acted as controlling persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and




                                                 17
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21       Page 18 of 20       PageID 18



misleading.

       62.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       63.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same.           The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

       64.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Proposed Transaction. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       65.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       66.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.




                                                 18
Case 3:21-cv-02640-C          Document 1        Filed 10/25/21       Page 19 of 20      PageID 19



       67.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the Shareholder Vote or consummating the Proposed Transaction, unless

and until the Company discloses the material information discussed above which has been omitted

from the Proxy;

       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

 Dated: October 25, 2021                              ADEMI LLP
                                                By: /s/ John D. Blythin
                                                    John D. Blythin (Wis. SBN 1046105)
                                                    3620 East Layton Avenue
                                                    Cudahy, Wisconsin 53110
                                                    Tel: 414-482-8000
                                                    Fax: 414-482-8001
                                                    Email: jblythin@ademilaw.com

                                                      Attorneys for Plaintiff




                                                 19
Case 3:21-cv-02640-C      Document 1   Filed 10/25/21   Page 20 of 20   PageID 20



OF COUNSEL:

ADEMI LLP
Guri Ademi
3620 East Layton Avenue
Cudahy, Wisconsin 53110
Tel: (414) 482-8000
Fax: (414) 482-8001
Email: gademi@ademilaw.com


Attorneys for Plaintiff




                                        20
